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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                           )
    In re:                                                 )   Chapter 11
                                                           )
    FTX TRADING LTD., et al.,1                             )   Case No. 22-11068 (JTD)
                                                           )
                                                           )   (Jointly Administered)
                              Debtors.                     )
                                                           )   Ref. Docket No. 1596

LIMITED OBJECTION OF OFFICIAL COMMITTEE OF UNSECURED CREDITORS
 TO MOTION OF DEBTORS FOR ENTRY OF AN ORDER (I) AUTHORIZING AND
APPROVING SALE OF DEBTORS’ INTERESTS IN SCHF CAYMAN, L.P. FREE AND
      CLEAR OF ALL LIENS, CLAIMS, INTERESTS AND ENCUMBRANCES;
       (II) AUTHORIZING AND APPROVING DEBTORS’ ENTRY INTO, AND
       PERFORMANCE UNDER, THE PURCHASE AND SALE AGREEMENT;
  (III) AUTHORIZING AND APPROVING ASSUMPTION AND ASSIGNMENT OF
         CERTAIN CONTRACTS; AND (IV) GRANTING RELATED RELIEF

             The Official Committee of Unsecured Creditors (the “Committee”) appointed in the

chapter 11 cases of the above-captioned debtors and debtors-in-possession (the “Debtors”), by and

through its undersigned counsel, hereby submits this limited objection (this “Objection”) to the

Debtors’ motion [Docket No. 1596] (the “Motion”)2 to sell the limited partnership interests (the

“Sequoia Fund Investment”) held by the Debtors in an investment fund, SCHF Cayman, L.P. (the

“Sequoia Fund”), which is managed by its general partner, SCHF (GPE), LLC (together with its

affiliates, “Sequoia”), pursuant to the purchase and sale agreement dated as of June 8, 2023 (the

“Purchase Agreement”), by and between the Debtors and Liberty Mutual Investments Holdings

LLC (“Purchaser”), and in support hereof, respectfully states as follows:



1
      The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the Debtors
and the last four digits of their federal tax identification number is not provided herein. A complete list of such
information may be obtained on the website of the Debtors’ claims and noticing agent at
https://cases.ra.kroll.com/FTX.
2
       Each capitalized term that is not defined herein shall have the meaning set forth in the Motion.
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                                            LIMITED OBJECTION

         1.       The Committee recognizes the various consent rights and remedies otherwise

available to Sequoia under the limited partnership agreement governing the Sequoia Fund Investment

(the “LPA”), as well as the complexities facing the Debtors in determining whether to advance

additional capital and further invest into a private equity investment initially made with funds

embezzled from millions of FTX customers. However, the Committee cannot overlook a fundamental

flaw in the proposed sale that renders the sale inappropriate as a matter of law and thus outside the

purview of the Debtors’ business judgment.3

         2.       Pursuant to the Motion, the Debtors seek authority to assume and assign the LPA to

Purchaser.4 Styled as a “Cure Cost,” the Purchase Agreement requires the payment of a $3.1 million

penalty to Sequoia, comprised of default interest charged by Sequoia after it issued a post-petition

capital call and subsequent default notice to the Debtors. See Mendelsohn Declaration at ¶ 10. 5


3
      Given the deference ordinarily granted to a chapter 11 debtor’s business judgment, the Committee was otherwise
prepared to accept the terms of the Debtors’ proposed sale of the Sequoia Fund Investment, notwithstanding the
Committee’s concerns with respect to the significant pressure and restrictive marketing process imposed by Sequoia.
The Debtors are proposing to offload the Sequoia Fund Investment at a sizeable discount, despite the Sequoia Fund’s
strong performance record. The $18.2 million purchase price payable to the Debtors represents an approximately
27.2% discount to the Debtors’ cost basis in the Sequoia Fund Investment (on an as-funded basis). From a marketing
process perspective, the Debtors were severely handicapped in terms of who they could even speak to. Out of the 43
potential acquirers the Debtors sought to contact, the Debtors were only permitted to solicit bids from 6 parties that
Sequoia deemed suitable. See Mendelsohn Declaration at ¶¶ 15-17. Moreover, from a timing perspective, the Debtors
were pressured to complete a deal as soon as possible given that Sequoia only permits transfers of limited partnership
interests on the last day of a calendar quarter. See id. Therefore it comes as no surprise that only one bid materialized.
See id.
4
     The Debtors sidestep taking a position on whether the LPA is an executory contract (see Motion at ¶ 18);
however, courts have generally treated partnership agreements as executory contracts. See, e.g., In re O'Connor, 258
F.3d 392, 400 n.3 (5th Cir. 2001) (collecting authority).

5
      The post-petition delivery of a capital call directing the Debtors to advance funds, and the subsequent delivery
of a default notice, each involve affirmative efforts by Sequoia to exercise rights against the Debtors’ property and/or
collect from the Debtors in violation of the automatic stay. See 11 U.S.C. § 362(a)(3) and (6)(enjoining creditors from
taking “any act to obtain possession of property of the estate or of property from the estate” or “any act to collect,
assess, or recover a claim against the debtor that arose before the commencement of the case under this title”); In re
Student Fin. Corp., 378 B.R. 73, 78 (Bankr. D. Del. 2007) (finding efforts to collect on postpetition obligations arising
from a prepetition agreement to be a violation of the automatic stay); Del. Trust Co. v. Energy Future Intermediate
Holding Co. (In re Energy Future Holdings Corp.), 527 B.R. 178, 197 (Bankr. D. Del. 2015), rev’d on other grounds,
842 F.3d 247 (3d Cir. 2016) (delivery of notice of rescission violates automatic stay). Indeed, the Debtors and Sequoia




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However, section 365(b)(2)(D) of the Bankruptcy Code expressly exempts the payment of a penalty

– whether related to a monetary or non-monetary default – from the Debtors’ cure requirements. See

11 U.S.C. § 365(b)(2)(D);6 see also, In re Phoenix Business Park Limited Partnership, 257 B.R. 517,

519-522 (Bankr. D. Ariz. 2001) (holding that sections 365(b)(2) and 1142(2) exempt a debtor from

satisfying a penalty rate, whether triggered by a monetary or non-monetary default). In the absence

of any legal requirement to pay a penalty, such a payment cannot be justified simply by invoking

“business judgment,” which should be informed, first and foremost, by applicable law. Consequently,

unless the $3.1 million penalty amount is remitted to the Debtors as part of the purchase price (rather

than to Sequoia as a penalty), the Court should withhold its approval of the sale.

         3.       Specifically, the Purchase Agreement contemplates a purchase price payable to the

Debtors in the amount of $18.2 million (see Purchase Agreement at ¶ 1.3), as well as the payment to

Sequoia of “Cure Costs” that expressly include default interest arising from the unfunded capital call

issued post-petition by Sequoia in December 2022 (notwithstanding the stay violation). See Purchase

Agreement at ¶¶ 1.2(b), 1.7(b). As described in the Mendelsohn Declaration, pursuant to the LPA

governing the Sequoia Fund Investment, a defaulting limited partner is required to pay daily default

interest at an annual rate equal to 17.5% plus three-month LIBOR, subject to an 18% floor. See

Mendelsohn Declaration at ¶ 10.




expressly noted in the Motion that they reserved rights concerning any claim that the stay was violated. Motion at 5,
n. 2. To the extent Sequoia was obligated under the LPA to issue a capital notice across the board to all of its limited
partners, Sequoia could have filed a lift stay motion, but chose not to do so.
6
     Section 365(b)(2)(D) provides as follows:
         Paragraph (1) of this subsection does not apply to a default that is a breach of a provision related
         to—(D) the satisfaction of any penalty rate or penalty provision related to a default arising from
         any failure by the debtor to perform nonmonetary obligations under the executory contract or
         unexpired lease.
11 U.S.C. § 365(b)(2)(D) (emphasis added).




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       4.      There can be no serious question that an 18% or more annual default interest rate

constitutes a penalty. See e.g., Matter of Timberline Prop. Dev., Inc., 136 B.R. 382, 386 (Bankr. D.N.J.

1992) (finding that a 3% rate increase upon default was a penalty because it “was designed to induce

payment”); DWS Investments, Inc., 121 B.R. 845, 850 (Bankr. C.D. Cal. 1990) (refusing to enforce

default rate of 25% where non-default rates were 14% and 15%). The Debtors certainly offer no direct

evidence from Sequoia that such an exorbitant interest rate is necessary to compensate Sequoia for

any actual loss suffered as a result of any delayed capital call. See In re DSBC Invs., L.L.C., 2009 WL

2998940, at *2 (Bankr. D. Ariz. Sept. 11, 2009) (construing default interest as a “penalty” within the

meaning of section 365(b)(2)(D) and refusing to award default interest where no “specific

compensatory feature” could be articulated).

       5.      In the absence of a legal requirement to pay such a penalty, the payment is akin to a

disguised “consent fee” payable to Sequoia, which calls into question the Purchaser’s status as a good

faith purchaser. As noted above, such a payment falls outside the permissive scope of a chapter 11

debtor’s business judgment, and unfairly rewards Sequoia for its pressure tactics. Accordingly, the

Committee respectfully requests that approval of the sale be conditioned upon the $3.1 million amount

being paid to the Debtors. Such a result would prevent a windfall to Sequoia, would not jeopardize

the sale or prejudice the Purchaser insofar as the aggregate amount payable under the Purchase

Agreement remains unchanged, and would benefit the Debtors’ estates.




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       WHEREFORE the Committee respectfully requests that the Court grant the Committee

relief consistent with the foregoing and such other relief as the Court finds just and appropriate.


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